598 F.2d 738
    UNITED STATES of America, Appellee,v.Raymond B. CROMER, Defendant-Appellant.
    No. 803, Docket 79-1027.
    United States Court of Appeals,Second Circuit.
    Argued April 24, 1979.Decided April 26, 1979.
    
      Joseph I. Stone, New York City, for defendant-appellant.
      Richard F. Lawler, Asst. U. S. Atty., S. D. N. Y., New York City (Robert B. Fiske, Jr., U. S. Atty., David C. Patterson, Asst. U. S. Atty., S. D. N. Y., New York City, of counsel), for appellee.
      Before WATERMAN, FEINBERG and MANSFIELD, Circuit Judges.
      PER CURIAM:
    
    
      1
      This is an appeal from a judgment of conviction following an eight-day jury trial before Judge Pierre N. Leval in the United States District Court for the Southern District of New York for conspiring to manufacture phencyclidine (angel dust), in violation of 21 U.S.C. § 846, manufacturing phencyclidine in violation of 21 U.S.C. §§ 812, 841 and 18 U.S.C. § 2, and possessing phencyclidine with intent to distribute it, in violation of the same statutory sections.  Appellant was sentenced to three years' imprisonment, suspended except for 26 consecutive weekends, plus a two-year special parole term.
    
    
      2
      Appellant's only argument on appeal concerns the warrantless seizure of a quantity of lactose from the trunk of his car, discovered pursuant to a duly conducted routine inventory search.  We hold the seizure legal and the search proper for the reasons stated in Judge Leval's opinion, --- F.Supp. ---- (S.D.N.Y.1978).  See also United States v. Ochs, 595 F.2d 1247 (2d Cir. 1979).  We therefore affirm the judgment of conviction.
    
    